 Case 25-11005-MEH                Doc 26-1 Filed 05/22/25 Entered 05/22/25 11:17:40            Desc
                                   Certificate of Service Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     THE KELLY FIRM, P.C.
     Andrew J. Kelly, Esq.
     1011 Highway 71, Suite 200
     Spring Lake, NJ 07762
     (732) 449-0525
     akelly@kbtlaw.com                                    Case No.:                  25-11005
                                                                               ____________________
     Attorneys for the Debtor
                                                          Chapter:                      11
                                                                               ____________________


     In Re:                                               Adv. No.:            ____________________

     6 SUNSET LANE, LLC,                                  Hearing Date:           June 16, 2025
                                                                              ____________________

                                      Debtor.             Judge:                      MEH
                                                                              ____________________




                                     CERTIFICATION OF SERVICE
           Wendy Kelly-Sheridan
1. I, ____________________________ :

           ☐ represent ______________________________ in this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                                 The Kelly Firm, P.C.    who represents
                      the Debtor
           ______________________________ in this matter.

           ☐ am the ______________________ in this case and am representing myself.



2.                      5/22/2025
           On _____________________________, I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              Notice of Motion to Expunge Claim; Certification in Support thereof; Statement re: No Brief
              Necessary; Proposed Order; Certification of Service.


3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      5/22/25
           _______________________                       /s/ Wendy Kelly-Sheridan
                                                         __________________________________
                                                         Signature
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Name and Address of Party Served         Relationship of                 Mode of Service
                                        Party to the Case
Office of The United States Trustee   US Trustee            ☐ Hand-delivered
One Newark Center, Suite 2100
                                                            ☐ Regular mail
1085 Raymond Boulevard
Newark, New Jersey 07102                                    ☐ Certified mail/RR
ATTN: Lauren Bielskie, Esq.
                                                            ☐ Other _____________________
                                                                    CM/ECF
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

6 Sunset Lane, LLC                    Debtor                ☐ Hand-delivered
6 Sunset Lane
Monmouth Beach, NJ 07750                                    ☐ Regular mail
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                                    email
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

Christiana Trust Cust. for C&E        Creditor              ☐ Hand-delivered
Tax Lien Fund / Firstrust Bank
P.O. Box 5021                                               ☐ Regular mail
Philadelphia, PA 19111-5021                                 ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

DelRusso, Glenn                       Creditor              ☐ Hand-delivered
89 Teakwood Circle
                                                            ☐ Regular mail
Jupiter, FL 33469
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

Landco Mortgage Bankers, Inc.         Creditor              ☐ Hand-delivered
3 Fairbanks Boulevard
                                                            ☐ Regular mail
Woodbury, NY 11797
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)




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Name and Address of Party Served      Relationship of                 Mode of Service
                                     Party to the Case
TEAM 3 CAPITAL LLC and             Creditor              ☐ Hand-delivered
LANDCO MORTGAGE
                                                         ☐ Regular mail
c/o WEIR GREENBLATT PIERCE,
LLP                                                      ☐ Certified mail/RR
35 Kings Highway East
                                                         ☐ Other _____________________
Haddonfield, NJ 08033                                       (As authorized by the Court or by rule. Cite
                                                         the rule if applicable.)

Team 3 Capital, LLC                Creditor              ☐ Hand-delivered
321 Route 59, #658
Tallman, NY 10982                                        ☐ Regular mail
                                                         ☐ Certified mail/RR
                                                         ☐ Other _____________________
                                                            (As authorized by the Court or by rule. Cite
                                                         the rule if applicable.)

Wallitt, Steven                    Creditor              ☐ Hand-delivered
12 Abby Drive
Lawrence Township, NJ 08648                              ☐ Regular mail
                                                         ☐ Certified mail/RR
                                                         ☐ Other _____________________
                                                               (As authorized by the Court or by rule.
                                                            Cite the rule if applicable.)

Securities Exchange Commission                           ☐ Hand-delivered
New York Regional Office
100 Pearl Street, Suite 20-100                           ☐ Regular mail
New York, NY 10004-2616                                  ☐ Certified mail/RR
                                                         ☐ Other _____________________
                                                            (As authorized by the Court or by rule. Cite
                                                         the rule if applicable.)

John E Vitale, Esq.                Attorney for Glenn    ☐ Hand-delivered
15 East Main Street                DelRusso              ☐ Regular mail
PO Box 271
Mendham, NJ 07945                                        ☐ Certified mail/RR
                                                         ☐ Other _____________________
                                                                 Email & CM/ECF
                                                            (As authorized by the Court or by rule. Cite
                                                         the rule if applicable.)




                                                                                                  rev.8/1/16


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